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Sexual Orientation Change Efforts, Adverse
Childhood Experiences, and Suicide Ideation and
Attempt Among Sexual Minority Adults, United
States, 2016–2018
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   Objectives. To examine how sexual orientation change efforts (SOCE) are associated                                  SOCE include increased distress, depression,
with suicide morbidity after controlling for adverse childhood experiences (ACEs).                                     hopelessness, and suicidal thoughts and be-
   Methods. Cross-sectional survey data are from the Generations survey, a nationally                                  haviors.6,8–10 SOCE have been practiced by
representative sample of 1518 nontransgender sexual minority adults recruited be-                                      religious counselors, medical professionals,
tween March 28, 2016, and March 30, 2018, in the United States. Self-identiﬁed trans-                                  and other health care providers for decades.11
gender individuals were included in a separate, related TransPop study. We used weighted                               Despite several national professional organi-
multiple logistic regression analyses to assess the independent association of SOCE with                               zations’ ofﬁcial positions against SOCE
                                                                                                                       (e.g., American Psychological Association,11
suicidal ideation and suicide attempt while controlling for demographics and ACEs.
                                                                                                                       American Medical Association,12 National
   Results. Approximately 7% experienced SOCE; of them, 80.8% reported SOCE from a
                                                                                                                       Association of Social Workers13), as of June
religious leader. After adjusting for demographics and ACEs, sexual minorities exposed to
                                                                                                                       2019, only 18 US states (and Puerto Rico and
SOCE had nearly twice the odds of lifetime suicidal ideation, 75% increased odds of
                                                                                                                       Washington, DC) have laws that ban sub-
planning to attempt suicide, and 88% increased odds of a suicide attempt with minor
                                                                                                                       jecting minors to SOCE.14
injury compared with sexual minorities who did not experience SOCE.                                                        Minority stress theory describes stressors
   Conclusions. Over the lifetime, sexual minorities who experienced SOCE reported a                                   as unique in that they stem from homophobia
higher prevalence of suicidal ideation and attempts than did sexual minorities who did                                 and chronic in that they are present in day-to-
not experience SOCE.                                                                                                   day social interactions.15 Minority stressors
   Public Health Implications. Evidence supports minimizing exposure of sexual minorities                              include prejudicial events and conditions that
to SOCE and providing afﬁrming care with SOCE-exposed sexual minorities. (Am J Public                                  are expressed both interpersonally (e.g., vi-
Health. 2020;110:1024–1030. doi:10.2105/AJPH.2020.305637)                                                              olent attacks, discrimination) and structurally
                                                                                                                       (e.g., laws allowing rejection of sexual mi-
                                                                                                                       norities in housing and employment).16 By
                                                                                                                       its very nature and purpose, SOCE can be

S    uicide has increased to a level that, along
     with drug overdose– and alcohol-related
deaths, has reduced life expectancy for US per-
                                                      include a variety of approaches such as im-
                                                      mersion in heterosexual-focused cognitive
                                                      exercises, ampliﬁcation of shame for same-
                                                                                                                       deﬁned as a minority stressor because they
                                                                                                                       promote heteronormativity as the only
                                                                                                                       acceptable way of life and reinforce individ-
sons for 3 consecutive years.1 Suicidal ideation      gender attraction, and physical punishment                       ual, family, and community rejection of
and suicide attempt (i.e., suicide morbidity) are     (e.g., electric shock) intended to condition                     LGB sexual orientation. By reinforcing stig-
strong predictors of death by suicide,2 and suicide   against mental or physical attraction to the                     matizing societal attitudes and promoting
morbidity occurs more frequently among les-           same gender.6–8 Negative outcomes of                             self-rejection, professionals who engage in
bian, gay, and bisexual (LGB or sexual minority)
populations than among heterosexuals.3,4
                                                      ABOUT THE AUTHORS
Identifying unique stressors that are associated      John R. Blosnich and Jeremy T. Goldbach are with the Suzanne Dworak-Peck School of Social Work, University of Southern
with sexual minority individuals’ suicidal ide-       California, Los Angeles. John R. Blosnich is also with the Center for Health Equity Research and Promotion, VA Pittsburgh
ation and suicide attempts can lead to tailored       Healthcare System, Pittsburgh, PA. Emmett R. Henderson and Robert W. S. Coulter are with the Center for LGBT Health
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                                                      www.ajph.org by clicking the “Reprints” link.
efforts (SOCE), sometimes referred to as                 This article was accepted February 23, 2020.
conversion or reparative therapy.5 SOCE                  doi: 10.2105/AJPH.2020.305637


          EXHIBIT Q                                                                                                                                                 1
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SOCE provide the exact opposite of rec-               (a self-administered Web or paper question-         2017 to March 2018) aimed at increasing the
ommended therapeutic approaches that                  naire) if they identiﬁed as cisgender or gender     number of Black and Latino respondents. The
should support self-acceptance.17–19 Minor-           nonbinary sexual minority (and not trans-           entire sample was weighted for nonresponse
ity stress also affects sexual minorities through     gender); were in the age ranges for 1 of the        using the US Census and for speciﬁc de-
internalization of stigmatizing social attitudes      3 cohorts of interest in the Generations            mographics of the LGBT population using
and stereotypes. For example, LGB people              study (aged 18–25, 34–41, or 52–59 years);          Gallup data collected since 2012. More in-
internalize homophobic notions, contribut-            belonged to the racial and ethnic groups            formation about the study’s methodology
ing to adverse health outcomes.17,20                  targeted (Black, Latino, or White, or had           and rationale is available online at http://
    Related to stigmatization in their families,      multiple racial and ethnic identities that in-      www.generations-study.com.
sexual minorities have a high prevalence of           cluded at least 1 of these; Table 1); completed
adverse childhood experiences (ACEs),21               at least sixth grade; and spoke English well
including physical and sexual abuse. Evidence         enough to conduct the telephone interview           Measures
shows dose–response relations of ACEs with            in English.                                             Demographic covariates included gender
suicidality,22 which may partly explain dis-              The speciﬁc age groups were selected to         identity (man, woman, or nonbinary or
parities in poor mental health between sexual         represent people who came of age in distinct        genderqueer); sexual identity (lesbian, gay,
minority and heterosexual individuals.23,24           social historical periods relevant to lesbian gay   bisexual, queer, pansexual, asexual, or other
Less is understood about how ACEs and                 bisexual transgender (LGBT) rights. The in-         minority sexual identities); racial and ethnic
SOCE may be associated among sexual mi-               vestigators identiﬁed the Pride generation as       identity (White, Black or African American,
norities. For instance, it is plausible that sexual   people who came of age in the 1970s and             Hispanic or Latinx, or other racial and ethnic
minority children may be less accepted by             were aged 51 to 59 years at the time of re-         identity); educational attainment (high school
their parents and more likely to be subjected         cruitment, the Visibility generation as people      diploma or less, some college, college degree,
to SOCE. To date, no research has examined            who came of age in the late 1980s and 1990s         or more than a college degree); and age.
the relationship between ACEs and SOCE to             and were aged 34 to 41 years at the time of             ACEs were measured using 11 items
our knowledge.                                        recruitment, and the Equality generation as         employed by the Centers for Disease Control
    Regardless of its relationship with ACEs,         people who came of age in the 2000s and             and Prevention in population health sur-
there has been scant investigation of how             were aged 18 to 25 years at the time of             veillance.26 The items are predicated with the
experiencing SOCE is related to suicidal              recruitment.                                        statement “Now, looking back before you
ideation and attempt among sexual minori-                 Asian American and American Indian/             were 18 years of age. . .” and followed by
ties. Similarly, little is known about the in-        Alaska Native sexual minority people were           several categories of negative experiences
dependent associations of SOCE and ACEs               excluded because their low representation in        (e.g., living with anyone who was depressed,
and suicidal ideation and attempt. The dearth         the US population meant the researchers             mentally ill, or suicidal; frequency of parents
of inquiry stems mainly from a lack of data on        would have not been able to recruit sufﬁcient       or adults in the home ever slapping, hitting,
experiencing SOCE among sexual minori-                numbers of respondents during the recruit-          kicking, punching, or beating up each other;
ties. Capitalizing on a novel probability-based       ment period to allow meaningful statistical         frequency of physical abuse). Three items
national sample of sexual minority adults, we         analyses for these racial and ethnic groups.        speciﬁcally asked respondents about sexual
examined how experiencing SOCE is asso-               Education level was selected because re-            abuse: How often did anyone at least 5 years
ciated with suicide morbidity, after consid-          spondents needed to be able to comprehend           older than you, or an adult, (1) ever touch you
ering the effects of ACEs.                            and self-administer the main study ques-            sexually, (2) try to make you touch them
                                                      tionnaire. Respondents who identiﬁed as             sexually, and (3) force you to have sex? These
                                                      transgender, regardless of their sexual orien-      3 sexual abuse items were combined into a
                                                      tation, were invited to participate in a related    cumulative measure of “any sexual abuse” if a
METHODS                                               TransPop study, which asked questions that          respondent afﬁrmatively answered 1 or more
   We collected data as part of the Genera-           were tailored to the transgender population.        of the items.
tions study, which was designed to examine                In phase 1 366 640 respondents were                 Experiencing SOCE was measured by an
health and well-being across 3 generations of         screened in the brief telephone interview           item created by the survey team: “Did you
nontransgender sexual minority people.                between March 2016 and March 2017.                  ever receive treatment from someone who
   Generations contracted with Gallup to use          Of these respondents, 3.5% (n = 12 837)             tried to change your sexual orientation (such
an innovative 2-phase sampling approach. In           identiﬁed as sexual minority, transgender,          as try to make you straight/heterosexual)?”
phase 1, Gallup used a dual-frame sampling            or both. After applying the study inclusion         Response options were: no; yes, from a health
procedure, which included random-digit                criteria, 3525 were eligible to participate         care professional (such as a psychologist or
dialing to reach US landline and cellphone            in the Generations study. The ﬁnal co-              counselor who was not religious focused);
users (a random selection method was used for         operation rate25 for the Generations study          and yes, from a religious leader (such as a
choosing a respondent in households reached           was 39%. The ﬁnal sample included 1518              pastor, religious counselor, priest). Because
on landline phones). Respondents screened at          respondents, including 187 respondents from         respondents could report experiencing both
phase 1 were eligible to participate in phase 2       an enhancement recruitment period (April            forms of SOCE, answers were combined in a

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 TABLE 1—Sociodemographic Characteristics of Individuals, by Experiencing Sexual
                                                                                                                   exposure to SOCE with ACEs after adjusting
 Orientation Change Efforts (SOCE), Counts, and Weighted Proportions: Probability Sample                           for demographics.
 of Sexual Minorities, United States, 2016–2018                                                                        To investigate the independent associa-
                                                                                                                   tions of ACEs and SOCE with suicidal ide-
                                                                                   Experienced SOCE                ation, suicide planning, and suicide attempt,
                                     Overall Sample (n = 1518),      No (n = 1410),       Yes (n = 108),           we ﬁrst conducted separate multiple logistic
                                          No. (%; SE) or             No. (%; SE) or       No. (%; SE) or           regression models including covariates and
                                            Mean 6SE                  Mean 6SE             Mean 6SE          P     ACEs followed by second models that added
Gender identity                                                                                                    experiencing SOCE. For the 3-category
  Woman                                  750 (55.0; 0.016)          708 (94.3; 0.011)     42 (5.7; 0.011)    .15   variable of suicide attempt, we conducted
  Man                                    674 (37.6; 0.015)          616 (91.2; 0.014)     58 (8.8; 0.014)          multinomial logistic regression analyses, with
  Nonbinary or genderqueer                94 (7.4; 0.009)            86 (94.2; 0.022)      8 (5.8; 0.022)          “no attempts” set as the reference category;
Sexual identity                                                                                                    we followed the same method of having the
  Lesbian/gay                            833 (46.9; 0.016)          757 (89.9; 0.014)     76 (10.1; 0.014)   .01   ﬁrst model include covariates and ACEs
  Bisexual                               493 (40.6; 0.016)          476 (96.3; 0.011)     17 (3.7; 0.011)          followed by a second model that added ex-
  Other sexual identity                  181 (12.5; 0.010)          166 (94.3; 0.018)     15 (5.7; 0.018)          periencing SOCE. We conducted all analyses
                                                                                                                   using Stata/SE version 15 (StataCorp, Col-
Racial/ethnic identity
                                                                                                                   lege Station, TX). We weighted analyses to
  White                                  931 (59.5; 0.016)          871 (94.2; 0.010)     60 (5.8; 0.010)    .14
                                                                                                                   account for the complex sampling design and
  Black/African American                 180 (13.5; 0.011)          162 (88.6; 0.029)     18 (11.3; 0.029)
                                                                                                                   nonresponse. We reported all point estimates
  Latino/a                               158 (10.8; 0.010)          145 (91.7; 0.027)     13 (8.3; s0.027)
                                                                                                                   with 95% conﬁdence intervals and assessed
  Other racial/ethnic identity           249 (16.2; 0.011)          232 (94.0; 0.019)     17 (6.0; 0.019)
                                                                                                                   statistical signiﬁcance at a P level of less than
Educational attainment
                                                                                                                   .05. All reported means and percentages are
  More than a college degree             288 (9.6; 0.006)           260 (90.6; 0.018)     28 (9.4; 0.018)    .08
                                                                                                                   weighted.
  College degree                         429 (16.0; 0.009)          403 (95.5; 0.016)     26 (4.5; 0.016)
  Some college                           492 (31.9; 0.014)          464 (94.5; 0.011)     28 (5.5; 0.011)
  High school diploma or less            309 (42.5; 0.017)          283 (91.8; 0.009)     26 (8.2; 0.009)
Age, y                                      30.9 60.37                30.7 60.38            32.7 61.43       .19   RESULTS
Note. Percentages and means were weighted. Sample size was n = 1518.                                                   Of the 1518 participants, 55% identiﬁed as
                                                                                                                   women, more identiﬁed as lesbian or gay than
                                                                                                                   bisexual (46.9% vs 40.6%, respectively), and
single category of having experienced SOCE                   from these 2 items to create a 3-category             about 60% identiﬁed as White (Table 1).
by either or both sources.                                   suicide attempt variable: no attempt; attempt         Among men and women, sex assigned as birth
    Suicide morbidity was captured with                      with no or minor injury (e.g., surface                was 100% concordant; for nonbinary indi-
several measures adapted from the Army                       scratches, mild nausea, sprain, ﬁrst-degree           viduals, 67.3% reported being assigned female
Study to Assess Risk and Resilience in Service               burns, ﬂesh wound); and attempt with                  sex at birth and 32.7% indicated being
Members instrument,27 which was adapted                      moderate or severe injuries (e.g., broken             assigned male sex at birth (data not shown).
from the Columbia Suicide Severity Rating                    bones, second- or third-degree burns,                 Across the sample, 6.9% (n = 108) experi-
Scale (C-SSRS).28 These measures included                    stitches, bullet wound, major fracture,               enced SOCE from any source; of them,
suicidal ideation (i.e., “Did you ever in your               coma requiring respirator, or surgery).               80.8% reported SOCE from a religious
life have thoughts of killing yourself?”),                                                                         leader, and 31.0% reported SOCE from a
having made a plan for suicide (i.e., “Did you                                                                     health care provider. Individuals with gay or
ever think about how you might kill yourself                 Analyses                                              lesbian identities were more likely to report
[e.g., taking pills, shooting yourself] or work                  We summarized demographics for the                experiencing SOCE than bisexually identi-
out a plan of how to kill yourself?”), and                   overall sample using descriptive statistics. We       ﬁed respondents or respondents with other
attempted suicide (“Did you ever make a                      examined ACEs as 8 dichotomous categories             sexual minority identities (e.g., queer, pan-
suicide attempt [i.e., purposefully hurt                     (yes or no) and in a count of ACEs endorsed           sexual). The prevalence of experiencing
yourself with at least some intention to                     by the respondents. We tested differences in          SOCE did not signiﬁcantly differ across the
die]?”). Individuals who reported at least 1                 sociodemographics, ACEs, and suicide                  age cohorts of Generations: 6.2% among
previous suicide attempt were then asked,                    morbidity between respondents who had                 those aged 18 to 25 years, 8.3% among those
“What were the most serious injuries you ever                experienced SOCE and respondents who                  aged 34 to 41 years, and 7.8% among those
received from a suicide attempt?” The                        did not experience SOCE. To better un-                aged 52 to 59 years (P = .43; data not shown).
C-SSRS has 6 different categories of injury                  derstand the relation between ACEs and                    Participants had an average of 3 ACEs,
severity, but because of low frequencies in                  experiencing SOCE, we used multiple lo-               and odds of experiencing SOCE were sig-
some categories, we combined information                     gistic regression to assess the association of        niﬁcantly greater among people who as

             EXHIBIT Q                                                                                                                                 3
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children lived with a parent or another                   SOCE showed little change in estimates, and          DISCUSSION
adult who was depressed, mentally ill, or                 interaction tests of ACEs and SOCE were not              We found that about 7% of sexual mi-
suicidal; lived in a household with parental              signiﬁcant (data not shown). Therefore, re-          norities experienced SOCE. This compares
intimate partner violence; or reported                    sults of the full models are shown in Table 4.       with 17% reported by a previous study from
emotional, physical, or sexual abuse (Table               In the adjusted models, ACEs were positively         the Multisite AIDS Cohort Study.29 But that
2) than among their counterparts. When                    associated with all measures of suicide mor-         study is not directly comparable because its
ACEs were counted, there was a signiﬁcant                 bidity. Compared with not experiencing               sample included men who have sex with men,
25% increased odds of reporting SOCE                      SOCE, experiencing SOCE was associated               was not representative of the US population,
experiences with each additional ACE                      with twice the odds of lifetime suicidal ide-        and had a mean age of 61.5 years, which
experienced.                                              ation, 75% increased odds of planning to             is older than our sample. A study using a
   Sexual minorities who experienced SOCE                 attempt suicide, 88% increased odds of               nonprobability sample of transgender and
had greater prevalence of all measures of                 attempting suicide resulting in no or minor          gender nonbinary individuals in the United
suicide morbidity relative to sexual minorities           injury, and 67% increased odds of suicide            States found that about 10% reported expe-
without SOCE experiences (Table 3). Re-                   attempt resulting in moderate or severe injury       riences of SOCE.30 To our knowledge, our
sults of regression models with only ACEs and             (the last did not reach statistical signiﬁcance      study is the ﬁrst to publish data on SOCE in a
not SOCE and then with both ACEs and                      at P < .05).
                                                                                                               nationally representative sample of non-
                                                                                                               transgender sexual minorities in the United
 TABLE 2—Prevalence and Adjusted Association of Adverse Childhood Experiences (ACEs)                           States.
 With Experiencing Sexual Orientation Change Efforts (SOCE), Counts, Weighted Proportions,                         We found that sexual minorities who
 and AORs: Probability Sample of Sexual Minorities, United States, 2016–2018                                   experienced ACEs were more likely to have
                                                                                                               experienced SOCE than were sexual mi-
                                                        Experienced SOCE                                       norities who did not experience ACEs. Even
                                    No, No. (%; SE)           Yes, No. (%; SE)              Multivariable,a    after adjustment for exposure to ACEs, which
ACEs                                or Mean 6SE                or Mean 6SE         P        AOR (95% CI)       are known risk factors for mental health
Household substance use                                                                                        problems and suicide morbidity, experienc-
  No                                771 (94.4; 0.010)         48 (5.6; 0.010)     .11         1 (Ref)          ing SOCE was independently associated with
  Yes                               639 (91.8; 0.013)         60 (8.2; 0.013)              1.56 (0.92, 2.65)   suicidal ideation, suicide planning, and suicide
Parental separation or divorce                                                                                 attempts. We did not ﬁnd a signiﬁcant rela-
  No                                928 (93.6; 0.009)         72 (6.4; 0.009)     .45         1 (Ref)          tion between experiencing SOCE and suicide
  Yes                               482 (92.3; 0.015)         36 (7.7; 0.015)              1.38 (0.83, 2.30)   attempt with moderate or severe injury, but it
Parental mental illness                                                                                        is noteworthy that the odds ratio estimate was
  No                                789 (94.0; 0.010)         50 (6.0; 0.010)     .23         1 (Ref)          in the same direction and of similar magnitude
  Yes                               621 (92.1; 0.013)         58 (7.9; 0.013)              1.76 (1.05, 2.94)   as the other signiﬁcant associations. The
                                                                                                               relatively small sample may have hampered
Incarcerated household member
                                                                                                               statistical power for the rare outcome of
  No                               1218 (93.3; 0.009)         90 (6.7; 0.009)     .59         1 (Ref)
                                                                                                               suicide attempts resulting in moderate or
  Yes                               192 (92.1; 0.023)         18 (7.9; 0.023)              1.17 (0.57, 2.39)
                                                                                                               severe injury.
Parental partner violence
                                                                                                                   To date, the mental health harms of SOCE
  No                                960 (94.5; 0.009)         62 (5.5; 0.009)     .02         1 (Ref)
                                                                                                               have been documented primarily via qualita-
  Yes                               450 (90.5; 0.016)         46 (9.5; 0.016)              1.86 (1.13, 3.05)
                                                                                                               tive inquiry.6–8 Our study adds to previous
Emotional abuse                                                                                                anecdotal ﬁndings with quantitative evidence
  No                                478 (96.1; 0.011)         22 (3.9; 0.011)     .01         1 (Ref)          showing the association between SOCE and
  Yes                               932 (91.9; 0.011)         86 (8.1; 0.011)              2.48 (1.31, 4.70)   suicide morbidity. The results of this study
Physical abuse                                                                                                 suggest that SOCE is a stressor with particu-
  No                                870 (94.7; 0.009)         49 (5.3; 0.009)     .02         1 (Ref)          larly insidious associations with suicide risk.
  Yes                               540 (90.9; 0.014)         59 (9.1; 0.014)              1.87 (1.11, 3.13)   The SOCE associations may be explained with
Sexual abuse                                                                                                   the construct of perceived burdensomeness of
  No                                907 (95.4; 0.008)         47 (4.6; 0.008)    < .001       1 (Ref)          the interpersonal theory of suicide,31 which has
  Yes                               503 (89.1; 0.017)         61 (10.9; 0.017)             2.95 (1.75, 5.00)   been associated with suicide morbidity among
No. of ACEs                           3.3 60.07                 4.2 60.31         .01      1.25 (1.10, 1.42)   sexual minorities.32 Further research into
                                                                                                               this area may investigate the speciﬁc constructs
Note. AOR = adjusted odds ratio; CI = conﬁdence interval. Percentages and means are weighted. Sample
size was n = 1518.
                                                                                                               and mechanisms (e.g., enacted stigma, inter-
a
 All multivariable models were weighted and adjusted for age, gender identity, sexual identity, edu-           nalized stigma, identity concealment) that
cation, and race/ethnicity.                                                                                    could incite perceived burdensomeness and

              EXHIBIT Q                                                                                                                               4
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 TABLE 3—Prevalence of Suicide Morbidity, by Experiencing Sexual Orientation Change
                                                                                                                           these outcomes by addressing the detrimental
 Efforts (SOCE), Counts, and Weighted Proportions: Probability Sample of Sexual Minorities,                                effects of minority stressors,18 including the
 United States, 2016–2018                                                                                                  effects of SOCE. However, best practices for
                                                                                                                           afﬁrming care with sexual minorities who
                                                                        Experienced SOCE                                   experienced SOCE are largely uncharted.
Lifetime Suicide Morbidity                       No, No. (%; SE)                Yes, No. (%; SE)                  P            Health care and social service providers
                                                                                                                           working with sexual minorities with histories
Suicidal ideation                                967 (73.4, 0.014)               90 (84.0, 0.042)                .04
                                                                                                                           of or active suicidal thoughts and suicide at-
Made a suicide plan                              763 (58.7, 0.016)               74 (71.7, 0.054)                .03       tempts should be aware that cumulative
Attempted suicide                                                                                                          trauma assessments should include a history of
  No                                            1087 (73.8, 0.015)               65 (59.6, 0.060)                .02       SOCE experiences, which may have ampli-
  Yes, no injury or minor injury                 172 (13.4, 0.012)               23 (24.6, 0.053)                          ﬁed internalized stigma. To better understand
  Yes, moderate or severe injury                 151 (12.8, 0.012)               20 (15.7, 0.042)                          the impacts of SOCE as a unique minority
Note. Percentages were weighted. Sample size was n = 1518.
                                                                                                                           stressor for sexual minorities, population
                                                                                                                           health surveys that include items about
                                                                                                                           stressful life experiences should also include
create the risk of suicidal thoughts and be-                 family, culture, and religion.6 Yet SOCE are                  items to assess experiences of SOCE.
haviors among survivors of SOCE.                             ineffective and may compound or create
   Limited evidence exists to guide clinical                 problems, such as depression, guilt, intimacy
practice with individuals who have experi-                   avoidance,5–8 and, as we have shown here,                     Study Limitations
enced SOCE. Many people participate in                       suicidal ideation and suicide attempts. Cog-                     The Generations study team developed
SOCE to conform to social expectations of                    nitive behavioral therapy may help resolve                    the SOCE measure, and although it seems

 TABLE 4—Associations of ACEs and Experiencing Sexual Orientation Change Efforts (SOCE) With Suicide Morbidity, AORs: Probability Sample
 of Sexual Minorities, United States, 2016–2018

                                                                                                    Suicide attempta
                                                                                                             Suicide Attempt                      Suicide Attempt With
                                          Suicidal Ideation              Suicide Planning             With No/Minor Injury (n = 1507),       Moderate/Severe Injury (n = 1507),
                                      (n = 1489), AOR (95%CI)        (n = 1480), AOR (95%CI)                  AOR (95%CI)                              AOR (95%CI)
Experienced SOCE                         1.92 (1.01, 3.64)              1.75 (1.01, 3.06)                     1.88 (1.01, 3.50)                       1.67 (0.76, 3.64)
No. of ACEs                              1.28 (1.17, 1.39)              1.27 (1.19, 1.37)                     1.27 (1.17, 1.39)                       1.38 (1.25, 1.52)
Age, y                                   0.97 (0.96, 0.98)              0.98 (0.97, 0.99)                     0.99 (0.97, 1.00)                       0.99 (0.97, 1.00)
Gender identity
  Female (Ref)                                  1                              1                                       1                                     1
  Male                                   1.06 (0.77, 1.45)              0.86 (0.64, 1.15)                     1.19 (0.78, 1.82)                       0.46 (0.28, 0.78)
  Nonbinary/genderqueer                  3.32 (1.32, 8.35)              2.22 (1.08, 4.56)                     0.98 (0.35, 2.74)                       1.70 (0.83, 3.50)
Sexual identity
  Gay/lesbian (Ref)                             1                              1                                       1                                     1
  Bisexual                               1.34 (0.93, 1.92)              1.16 (0.83, 1.61)                     1.12 (0.69, 1.82)                       1.53 (0.94, 2.49)
  Other sexual minority                  2.19 (1.27, 3.79)              1.87 (1.13, 3.09)                     1.55 (0.74, 3.25)                       0.96 (0.47, 1.96)
Racial/ethnic identity
  White (Ref)                                   1                              1                                       1                                     1
  Black/African American                 0.55 (0.35, 0.85)              0.65 (0.43, 0.99)                     1.43 (0.85, 2.39)                       0.54 (0.26, 1.12)
  Latino/a                               0.55 (0.34, 0.89)              0.70 (0.45, 1.10)                     1.02 (0.53, 1.98)                       0.59 (0.26, 1.31)
  Other racial/ethnic identity           0.93 (0.59, 1.48)              1.22 (0.81, 1.82)                     0.85 (0.50, 1.44)                       1.12 (0.68, 1.85)
Educational attainment
  Postgraduate (Ref)                            1                              1                                       1                                     1
  College degree                         1.01 (0.70, 1.46)              0.88 (0.62, 1.25)                     1.53 (0.86, 2.73)                       0.84 (0.45, 1.56)
  Some college                           0.90 (0.61, 1.33)              1.08 (0.75, 1.54)                     1.56 (0.89, 2.73)                       1.21 (0.68, 2.15)
  High school diploma or less            1.02 (0.65, 1.60)              0.91 (0.60, 1.37)                     1.54 (0.83, 2.84)                       0.97 (0.51, 1.84)

Note. ACE = adverse childhood experience; AOR = adjusted odds ratio; CI = conﬁdence interval. All multivariable models were weighted. Sample size was
n = 1518.
a
 Estimated with multinomial logit model (no suicide attempts as reference category).


              EXHIBIT Q                                                                                                                                          5
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straightforward, no evidence of the measure’s        respondents than the BRFSS interviewer-                       REFERENCES
                                                                                                                   1. Centers for Disease Control and Prevention. CDC
validity and reliability exists at this time.        administered phone modality.34
                                                                                                                   director’s media statement on US life expectance. 2018.
Additionally, people who experienced                                                                               Available at: https://www.cdc.gov/media/releases/
SOCE may continue to have negative feel-                                                                           2018/s1129-US-life-expectancy.html. Accessed June 11,
                                                     Public Health Implications                                    2019.
ings about their same-sex sexual orientation
                                                        Major professional medical and health                      2. Turecki G, Brent DA. Suicide and suicidal behaviour.
and may be more likely than others to hide
                                                     services organizations condemn the practice                   Lancet. 2016;387(10024):1227–1239.
their sexual minority identity; thus, our study
                                                     of SOCE.11–13 However, to date, 32 US states                  3. Haas AP, Eliason M, Mays VM, et al. Suicide and
recruitment method may have underrepre-                                                                            suicide risk in lesbian, gay, bisexual, and transgender
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sented SOCE exposure among sexual                                                                                  populations: review and recommendations. J Homosex.
                                                     and existing laws do not apply to adults or                   2011;58(1):10–51.
minorities.
                                                     SOCE administered through religious                           4. Hottes TS, Bogaert L, Rhodes AE, Brennan DJ, Gesink
    Our measure of SOCE is limited in that it
                                                     leaders.14 This religious exemption is par-                   D. Lifetime prevalence of suicide attempts among sexual
does not differentiate among the diverse ex-                                                                       minority adults by study sampling strategies: a systematic
                                                     ticularly concerning because among the
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                                                     a religious provider. The landscape regarding                 therapies. J Homosex. 1998;36(1):19–42.
SOCE experiences. For instance, our survey
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item broadly captured SOCE, but we are
                                                     evolve,35 and despite both the lack of sci-                   orientation therapy interventions: perspectives of ex-ex-
unable to determine if SOCE were received                                                                          gay individuals. J Gay Lesbian Ment Health. 2013;17(3):
                                                     entiﬁc evidence to uphold SOCE and the
from a practitioner who solely focused on                                                                          256–277.
                                                     documented harm it can do, sexual minority
SOCE (e.g., conversion camps) or arose in the                                                                      7. Haldeman DC. The practice and ethics of sexual
                                                     people continue to be at risk for exposure to                 orientation conversion therapy. J Consult Clin Psychol.
context of a generalized discussion with a
                                                     SOCE. Greater awareness of the harms of                       1994;62(2):221–227.
mental health profession or religious leader.
                                                     SOCE need to be conveyed to the general                       8. Beckstead AL, Morrow SL. Mormon clients’ experi-
Thus, we cannot discern differential impact of                                                                     ences of conversion therapy: the need for a new treatment
                                                     public, especially in areas that may have a
various experiences of SOCE.                                                                                       approach. Couns Psychol. 2004;32(5):651–690.
                                                     greater prevalence of professionals who en-
    Similarly, our measure did not allow us to                                                                     9. Shidlo A, Schroeder M. Changing sexual orientation: a
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                                                                                                                   249–259.
related to ACEs exposure. To probe causal            CONTRIBUTORS
                                                                                                                   10. Trevor Project. National survey on LGBTQ youth
relationships, future survey items ought to          J. R. Blosnich conducted the analyses. J. R. Blosnich and
                                                                                                                   mental health. 2019. Available at: https://www.
                                                     I. H. Meyer conceptualized the study. All authors con-
attend to issues of the timing of ACEs and                                                                         thetrevorproject.org/wp-content/uploads/2019/06/
                                                     tributed to writing and reviewing article drafts.
SOCE (e.g., age of ﬁrst and last experiences)                                                                      The-Trevor-Project-National-Survey-Results-2019.
                                                     ACKNOWLEDGMENTS                                               pdf. Accessed June 11, 2019.
and the type and dosage of these stressful
                                                     Generations is funded by the Eunice Kennedy Shriver           11. American Psychological Association, Task Force on
exposures (e.g., number of experiences).
                                                     National Institute of Child Health and Human Devel-           Appropriate Therapeutic Responses to Sexual Orienta-
Other methodological limitations include             opment (grant 1R01HD078526) and the National Insti-           tion. Report of the American Psychological Association
that ACEs may be prone to recall bias, likely        tutes of Health (NIH), Ofﬁce of Behavioral and Social         Task Force on Appropriate Therapeutic Responses to
resulting in underestimates of the phenom-           Sciences Research and the Ofﬁce of Research on                Sexual Orientation. 2009. Available at: https://www.
                                                     Women’s Health (grants 3R01HD078526-01A1S1,                   apa.org/pi/lgbt/resources/therapeutic-response.pdf.
ena.33 Additionally, other childhood adver-          3R01HD078526-02S1, 3R01HD078526-02S2). This                   Accessed June 19, 2019.
sities may not be captured in the ACEs               work was also partially supported by the US Department
                                                                                                                   12. American Medical Association. Advocating for the
                                                     of Veterans Affairs Health Services Research & Devel-
inventory (e.g., community safety) that may                                                                        LGBTQ community: review issue briefs and talking point
                                                     opment (career development award CDA-14-408 to
be associated with SOCE or suicidal ideation                                                                       that focus on topics impacting the LGBTQ community,
                                                     J. R. B.), the National Institute of Mental Health (pre-
                                                                                                                   including conversion therapy, gender-afﬁrming care and
or attempt. Last, data about mental health           doctoral fellowship award T32MH094174 to E. R. H.),
                                                                                                                   access to public utilities. Available at: https://www.ama-
care utilization other than SOCE were                and the National Institute on Alcohol Abuse and Alco-
                                                                                                                   assn.org/delivering-care/population-care/advocating-
                                                     holism (career development award K01AA027564 to
not available, so we could not examine the                                                                         lgbtq-community. Accessed June 11, 2019.
                                                     R. W. S. C.).
relationship of non-SOCE mental health                   The Generations investigators are Ilan H. Meyer, PhD      13. National Association of Social Workers. Sexual ori-
                                                     (principal investigator); David M. Frost, PhD; Phillip L.     entation change efforts (SOCE) and conversion therapy
treatments, ACEs, and suicidality.                                                                                 with lesbians, gay men, bisexuals, and transgender persons.
                                                     Hammack, PhD; Marguerita Lightfoot, PhD; Stephen T.
    Other limitations include that because of        Russell, PhD; and Bianca D. M. Wilson, PhD (coinves-          2015. Available at: https://www.socialworkers.org/
their low base rates in the US population, our       tigators, listed alphabetically).                             LinkClick.aspx?ﬁleticket=IQYALknHU6s%
                                                         Note. The views expressed are those of the authors        3D&portalid=0. Accessed March 24, 2020.
methodology did not allow us to recruit
                                                     and do not necessarily reﬂect the position or policy of the   14. Movement Advancement Project. Equality maps:
sufﬁcient numbers of Asian and American              funding institutions, NIH, US Department of Veterans          conversion “therapy” laws. Available at: http://www.
Indian/Alaska Native sexual minorities to            Affairs, or the US government.                                lgbtmap.org/equality-maps/conversion_therapy.
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survey may be more demanding for                     and the University of Pittsburgh.                             697.


           EXHIBIT Q                                                                                                                                            6
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            EXHIBIT Q                                                                                                                               7
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